     Case 5:20-cv-00704-DSF-JC Document 26 Filed 04/22/21 Page 1 of 1 Page ID #:578



 1
 2
 3
 4
 5
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10
      JEFFREY M.B.,1                                 Case No. 5:20-cv-00704-DSF-JC
11
12                              Plaintiff,
                        v.
13
                                                     JUDGMENT
14    ANDREW SAUL, Commissioner
15    of Social Security,
16                             Defendant.
17
18          IT IS HEREBY ADJUDGED that the decision of the Commissioner of
19 Social Security is reversed and this matter is remanded for further administrative
20 action consistent with the March 17, 2021 Report and Recommendation of United
21 States Magistrate Judge.
22 DATED: April 22, 2021 _______________________________________
23                            HONORABLE DALE S. FISCHER
24                                           UNITED STATES DISTRICT JUDGE
25
26
27          1
             Plaintiff’s name is partially redacted to protect his privacy in compliance with Federal
     Rule of Civil Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
28   Administration and Case Management of the Judicial Conference of the United States.
